Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 1 of 39. PageID #: 386989




              PSJ3
            Exhibit 598
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 2 of 39. PageID #: 386990
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 3 of 39. PageID #: 386991
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 4 of 39. PageID #: 386992
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 5 of 39. PageID #: 386993
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 6 of 39. PageID #: 386994
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 7 of 39. PageID #: 386995
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 8 of 39. PageID #: 386996
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 9 of 39. PageID #: 386997
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 10 of 39. PageID #: 386998
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 11 of 39. PageID #: 386999
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 12 of 39. PageID #: 387000
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 13 of 39. PageID #: 387001
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 14 of 39. PageID #: 387002
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 15 of 39. PageID #: 387003
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 16 of 39. PageID #: 387004
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 17 of 39. PageID #: 387005
                              Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 18 of 39. PageID #: 387006




                                                     Flagged Orders




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                                                                                                                  16
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 19 of 39. PageID #: 387007
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 20 of 39. PageID #: 387008
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 21 of 39. PageID #: 387009
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 22 of 39. PageID #: 387010
                              Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 23 of 39. PageID #: 387011




                                         CSO Override Forms




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                                                                                                                  21
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 24 of 39. PageID #: 387012
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 25 of 39. PageID #: 387013
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 26 of 39. PageID #: 387014
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 27 of 39. PageID #: 387015
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 28 of 39. PageID #: 387016
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 29 of 39. PageID #: 387017
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 30 of 39. PageID #: 387018
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 31 of 39. PageID #: 387019
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 32 of 39. PageID #: 387020
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 33 of 39. PageID #: 387021
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 34 of 39. PageID #: 387022
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 35 of 39. PageID #: 387023
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 36 of 39. PageID #: 387024
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 37 of 39. PageID #: 387025
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 38 of 39. PageID #: 387026
Case: 1:17-md-02804-DAP Doc #: 2371-54 Filed: 08/14/19 39 of 39. PageID #: 387027
